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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )             Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )


                                 ENTRY OF APPEARANCE
       COMES NOW Lauren Bonds and hereby enters her appearance as additional counsel of

record for the Plaintiffs Thomas J. Boyton, Donna Bucci, Steven Wayne Fish, Douglas

Hutchinson, Charles Stricker, and the League of Women Voters of Kansas.



                                            Respectfully submitted,


                                            By: /s Lauren Bonds
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                                                lbonds@aclukansas.org

                                                   Attorney for Plaintiffs
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                               CERTIFICATE OF SERVICE
       I hereby certify that on this 23rd day of May, 2018 I electronically filed the above and
foregoing with the Clerk of Court using the CM/ECF system, which sent notice of electronic filing
to counsel of record.



                                                    /s/ Lauren Bonds
                                                    Lauren Bonds
